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 1 Timothy E. Warriner (SB#166128)
   Attorney at Law
 2 813 6th St., Suite 450
   Sacramento, CA 95814
 3 (916) 443-7141
 4
   Attorney for Defendant
 5 THANG QUOC BUI
 6
                            IN THE UNITED STATES DISTRICT COURT
 7
                          FOR THE EASTERN DISTRICT OF CALIFORNIA
 8
 9 UNITED STATES OF AMERICA,                       )      No. CR S 05 0542 GEB
                                                   )
10                Plaintiff,                       )      STIPULATION AND ORDER
                                                   )      CONTINUING JUDGMENT
11         v.                                      )      AND SENTENCE PROCEEDINGS
                                                   )
12 THANG QUOC BUI,                                 )
                                                   )
13                Defendant.                       )
   ____________________________________)
14
           This matter is presently set for judgment and sentence to occur on May 20, 2011 at 9:00
15
   a.m. The parties hereby stipulate that judgment and sentencing shall be continued to June 17,
16
   2011 at 9:00 a.m. to afford defense counsel additional time to meet with the client prior to
17
   sentencing, and that the May 20, 2011 sentencing date be vacated.
18
   Dated: May 17, 2011                     /s/ Timothy E. Warriner, Attorney for defendant, Thang Bui
19
   Dated: May 17, 2011                     /s/ Matthew Stegman, Assistant U.S. Attorney
20
                                                  ORDER
21
           IT IS HEREBY ORDERED that the date for judgment and sentencing shall be continued
22
   to June 17, 2011 at 9:00 a.m., and that proceedings now scheduled for May 20, 2011 be
23
   continued.
24
25 Dated: May 18, 2011
26
27                                           GARLAND E. BURRELL, JR.
                                             United States District Judge
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